
*443OPINION.
Trammell:
With respect to the profit on the sale of the assets referred to in the findings of fact, the only question is whether the partnership received cash, or the equivalent of cash, as the consideration for the property. The notes, amounting to $126,000, were unsecured. A member of the partnership undertook to discount them at a bank in the community in which the business was located, but the bank was unable to handle the notes because the amounts thereof were too large in comparison with its capital and it could not lend money or handle notes beyond a certain percentage of its capital stock. The notes may not have been secured by mortgage or lien against any specific property, but this is not conclusive as to whether they had a fair market value when received. The testimony of a banker that his bank was not in a position to handle notes of *444the character of the notes involved is not sufficient to establish the fact that the notes had no fair market value. It is not so much a question of when the notes were payable or when they were paid. The real question is whether they had a fair market value. If they did, the partnership received income to the extent of the cash received and-their fair market value. We are unable to find as a fact that the notes received did not have a fair market value at the time received. This being true, we must approve the determination of the Commissioner with respect to the gain arising from the sale of the assets.
With respect to the debts claimed by the partnership to have been worthless and charged off during 1919, we have found as a fact that the debts were in fact ascertained to be worthless and charged off during that year.
